Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 1 of 6 PageID #: 183

                              1)c,c,\{_<l.\- l-) t;:   4 :I~ -C,r'-D bD 1S-COf- l
                                 \\oV'(l>(~b\e._       ~~e_ ~~'( ,'Y,e_   t'J, ~(ty
                      Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 2 of 6 PageID #: 184




                        ----·-·-------····---·- ···--·- ------- LJ~                                                                                                                               -----
                   - - . . .. ..                                                - - .-.. - r~ (kb,._ -- -                                                                          .. -




---------·-·-·-- -------- - -----   ---------------·------- - - - - - - ---------··                    ·-·-·-   ____________   .,   ________ _

                                                          ·----------------   --------    ----------------------------···-------------------                                       -·-   -------- ---------   ·---




        --                  ----------·--·-·-------····




                                                                                                                                                  ·--------

- - - - - - - - --------------------       ----------------                          - - - - -------------~---------------------------                                  ---




                                                                      - - - - - - - - - - -- - -- ------------- -·----------------                 ~----




·-   ------   --------------·-·--------------·--·                                                                                            ----·-- ·····--------···--·-·-··   ····------·-                  --
        Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 3 of 6 PageID #: 185

  SPGBI         *             INMATE EDUCATION DATA            *       04-11-2020
PAGE 001 OF 001 *                   TRANSCRIPT                 *       08:53:49

REGISTER NO: 47801-044       NAME .. : COLEMAN                     FUNC: PRT
FORMAT ..... : TRANSCRIPT    RSP OF: SPG-SPRINGFIELD USMCFP

                             EDUCATION INFORMATION ---------------------------
FACL ASSIGNMENT DESCRIPTION                    START DATE/TIME STOP DATE/TIME
SPG ESL HAS     ENGLISH PROFICIENT             04-30-2019 0954 CURRENT
SPG GED HAS     COMPLETED GED OR HS DIPLOMA    09-09-2019 1150 CURRENT

----------------------------- EDUCATION COURSES
SUB-FACL   DESCRIPTION                    START DATE    STOP DATE EVNT AC      LV   HRS
THA        RPP6 GROWTH & DEVELOPMENT      02-03-2020   02-03-2020   p  C    p         1
THA        RPP5 RELEASE REQUIREMENTS      02-03-2020   02-03-2020   p  C    p         1
THA        RPP4 COMMUNITY RESOURECES-USPO 02-03-2020   02-03-2020   p  C    p         1
THA        RPP4 COMMUNITY RESOURCES-RRC   02-03-2020   02-03-2020   p  C    p         1
THA        RPP4 COMMUNITY RESOURCES-RRC   01-30-2020   01-30-2020   p  C    p         1
THA        RPP3 PERSONAL FINANCE/CONSUMER 01-30-2020   01-30-2020   p  C    p         1
THA        RPP2 EMPLOYMENT RESUME WRITING 01-30-2020   01-30-2020   p  C    p         1
THA        RPP(l) HEALTH AND NUTRITION    01-30-2020   01-30-2020   p  C    p         1
THA        ACE SOCIOLOGY CLASS            11-01-2019   11-30-2019   p  C    p        12
THA        ACE INTRODUCTION TO SPANISH    11-01-2019   11-30-2019   p  C    p        12
THA        ACE THE PLUMBING PROFESSION    06-27-2019   07-18-2019   p  C    p        12
THA        ACE ELECTRICAL TRADE           06-27-2019   07-18-2019   p  C    p        12
THA        ACE MONEY SMART PART 1 (1-5)   04-09-2019   05-16-2019   p  C    p        12
THA        ACE FOOD SAFETY CLASS          04-09-2019   05-16-2019   p  C    p        12




GOOOO        TRANSACTION SUCCESSFULLY COMPLETED
        Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 4 of 6 PageID #: 186

  SPGBI         *             INMATE DISCIPLINE DATA           *     04-11-2020
PAGE 001 OF 001 *       CHRONOLOGICAL DISCIPLINARY RECORD      *     08:54:13

REGISTER NO: 47801-044 NAME .. : COLEMAN, JAMES EMMITT
FUNCTION ... : PRT     FORMAT: CHRONO      LIMIT TO \~ MOS PRIOR TO 04-11-2020




G5401         DISCIPLINE DATA DOES NOT EXIST FOR THIS INMATE
         Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 5 of 6 PageID #: 187
Rick Gaines
Chief Juvenile Officer

Carol Bader
Director of Child Protective Services

Deborah Woodside
Director of Delinquency Services                                                     Telephone: 314-615-4400
                                                                                           Fax: 314-615-4477
Chimene Laskley                                                                            TTY Relay MO 711
Managing Attorney of Legal Department


                                                January 23, 2020
James Emmitt Coleman
FCI Terre Haute
Register#: 47801-044                                                                   Ta    ··-··.
r-eaera1~0~
PO box 33
Terre Haute, IN 47808

RE:  King S. Bulgin
DOB: 8-23-15

Dear James Coleman,

I am writing this letter to inform you that the Family Court of St. Louis County took judicial custody of your child,
King, on January 21st, 2020 due to allegations of abuse/neglect.

Enclosed you will find three forms that you will need to carefully review. The first form provides you with notice
of the protective custody hearing to be held in this matter. PLEASE NOTE THE DATE AND TIME OF THE
PROTECTIVE CUSTODY HEARING.

The second is notice of your rights and duties as a parent. Please review this form carefully.

The third form is a financial statement. You have a right to be represented by an attorney in this matter. If you
desire to be represented by an attorney, but feel you cannot afford one, you must complete the enclosed
financial statement and return it to me as soon as possible. Once the court receives the form, it will be
reviewed to determine if you qualify for a court-appointed attorney. If an attorney is appointed to represent
 you, you wili be notified of the name of that attorney. The court may order you to pay some or all of the
attorney's fees incurred by you in this matter. If an attorney is not appointed to represent you, you may hire a
private attorney or represent yourself.

Since the Court has taken Judicial Custody of King they are in the legal custody of the Children's Division (CD)
for placement outside of your home. A CD worker has been assigned to your case. The worker is Erin Moore
and she may be reached at 314-264-0715. The CD worker will be contacting you.

Should you have any questions regarding the above information, please contact me at (314) 615-2971. If I am
not available at the time of your call please leave a message with a return phone number and I will return your
call at my earliest convenience.

Sincerely,

a{aii ffl rJWU
Kali Malare
Deputy Juvenile Officer
NEG_ 108 PROT CUS HRG LETT
Case: 4:18-cr-00075-CDP Doc. #: 60 Filed: 04/20/20 Page: 6 of 6 PageID #: 188



                                                            :::..




                                                           --

                 .,,!·
                 .   ....
                     ~                                     --
                                                           --

                                                           {)1
                                                            (Jl
                                                           I.ii
                                                           N
                                                           .,-1
                                                           ....
                                                            I
                                                            N
                                                           (J
                                                           .,..i
                                                           {1:t
                                                           \U

                                 '.·J.)
                                           <.
                                   . )        .
                                 :..'..!   '---..
